         Case 2:18-bk-10339-NB         Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43                     Desc
                                       Main Document     Page 1 of 45



Attorney or Party Name, Address, Telephone & FAX           FOR COURT USE ONLY
Nos., State Bar No. & Email Address

ZBS LAW, LLP
Nichole L. Glowin, Esq. #262932
30 Corporate Park, Suite 450
Irvine, CA 92606
Phone: (714) 848-7920
Facsimile: (714) 908-7807
Email: bankruptcy@zbslaw.com



    Individual appearing without attorney
    Attorney for Movant
                                   UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
In re:                                                     CASE NO.: 2:18-bk-10339-NB

Estela Toledo,                                             CHAPTER: 13

                    Debtor(s)                                       NOTICE OF MOTION AND MOTION
                                                                   FOR RELIEF FROM THE AUTOMATIC
                                                                      STAY UNDER 11 U.S.C. 362
                                                                     (with supporting declarations)
                                                                           (REAL PROPERTY)
                                                           DATE: July 26, 2022

                                                           TIME: 10:00 a.m.

                                                           COURTROOM: 1545
Movant: U.S. Bank National Association, not in its individual capacity but solely as trustee for the RMAC Trust,
Series 2016-CTT


1. Hearing Location:
    255 East Temple Street, Los Angeles, CA 90012                  411 West Fourth Street, Santa Ana, CA 92701
    21041 Burbank Boulevard, Woodland Hills, CA 91367              1415 State Street, Santa Barbara, CA 93101
    3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
  parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
  granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
  attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
  preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using the
  format required by LBR 9004-1 and the Court Manual.




                                                          Page 1
          Case 2:18-bk-10339-NB            Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43                     Desc
                                           Main Document     Page 2 of 45


4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
  was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
  such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date) ____________ and (time) ___________ ; and,
          you may appear at the hearing.

     a.     An application for order setting hearing on shortened notice was not required (according to the calendaring
            procedures of the assigned judge).

     b.     An application for order setting hearing on shortened notice was filed and was granted by the court and such
            motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.     An application for order setting hearing on shortened notice was filed and remains pending. After the court
            rules on that application, you will be served with another notice or an order that specifies the date, time and
            place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
            motion.


Date: 6/23/2022                                                  ZBS Law, LLP
                                                                 Printed name of law firm (if applicable)

                                                                 Nichole L. Glowin
                                                                 Printed name of individual Movant or attorney for Movant



                                                                 /s/ Nichole L. Glowin
                                                                 Signature of individual Movant or attorney for Movant




                                                             Page 2
         Case 2:18-bk-10339-NB            Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43                        Desc
                                          Main Document     Page 3 of 45



            MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY
1. Movant is the:

          Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
          the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
          Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
          mortgage or deed of trust) or (2) is the assignee of the beneficiary.
          Servicing agent authorized to act on behalf of the Holder or Beneficiary.

        Other (specify): Movant is the original mortgagee or beneficiary or assignee of the security instrument for the
                         referenced loan. Movant, directly or through an agent, has possession of the promissory note
                         and the promissory note is either made payable to Movant or has been duly endorsed in blank.
2. The Property at Issue (Property):
   a.     Address:

          Street address: 16648 East Arrow Highway
          Unit/suite number:
          City, State, zip code: Covina Area, California 91722 a.k.a. Covina, CA 91722
    b. Legal description, or document recording number (including county of recording), as set forth in Movant’s deed of
       trust (attached as Exhibit 2 ): XX-XXXXXXX Recorded in Official Records, County of Los Angeles
3. Bankruptcy Case History:

  a. A      voluntary        involuntary bankruptcy petition under chapter        7      11     12      13
    was filed on (date)     01/11/2018 .

  b.       An order to convert this case to chapter       7     11      12      13 was entered on (date) ____________.

  c.                                                07/17/2018
           A plan, if any, was confirmed on (date) ____________.
4. Grounds for Relief from Stay:

  a.         Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
       (1)     Movant’s interest in the Property is not adequately protected.
           (A)    Movant’s interest in the Property is not protected by an adequate equity cushion.
           (B)    The fair market value of the Property is declining and payments are not being made to Movant
                  sufficient to protect Movant’s interest against that decline.
           (C)    Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                  obligation to insure the collateral under the terms of Movant’s contract with the Debtor.
       (2)     The bankruptcy case was filed in bad faith.
           (A)    Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                  commencement documents.
           (B)    The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
           (C)    A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of filing
                  this bankruptcy case.
           (D)    Other bankruptcy cases have been filed in which an interest in the Property was asserted.
           (E)    The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                  and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
           (F)    Other (see attached continuation page).




                                                              Page 3
            Case 2:18-bk-10339-NB              Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43                       Desc
                                               Main Document     Page 4 of 45



          (3)     (Chapter 12 or 13 cases only)
              (A)    All payments on account of the Property are being made through the plan.
                         Preconfirmation       Postconfirmation plan payments have not been made to the chapter 12
                    trustee or chapter 13 trustee.
              (B)     Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                      been made to Movant.
          (4)     The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.

          (5)     The Movant regained possession of the Property on (date) ____________.
                 which is      prepetition       postpetition.
          (6)     For other cause for relief from stay, see attached continuation page.

     b.         Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
                § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

     c.         Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
                30 days after the court determined that the Property qualifies as “single asset real estate” as defined in
                11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.

     d.         Pursuant to 11 U.S.C. § 362(d)(4), the Debtor’s filing of the bankruptcy petition was part of a scheme to delay,
                hinder, or defraud creditors that involved:

          (1)     The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                  court approval; or
          (2)     Multiple bankruptcy cases affecting the Property.

5. Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.         These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                been entitled to relief from the stay to proceed with these actions.

     b.         Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _____.

     c.         Other (specify):


6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
motion)

     a. The REAL PROPERTY DECLARATION on page 6 of this motion.

     b.         Supplemental declaration(s).

     c.         The statements made by Debtor under penalty of perjury concerning Movant’s claims and the Property as set
                forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the case
                commencement documents are attached as Exhibit _____.

     d.         Other:



7.          An optional Memorandum of Points and Authorities is attached to this motion.




                                                                  Page 4
       Case 2:18-bk-10339-NB             Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43                       Desc
                                         Main Document     Page 5 of 45


Movant requests the following relief:

1. Relief from the stay is granted under:     11 U.S.C. § 362(d)(1)        11 U.S.C. § 362(d)(2)        11 U.S.C. §362(d)(3).
2.    Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
      remedies to foreclose upon and obtain possession of the Property.
3.    Movant, or its agents, may, at its option, offer, provide and enter into a potential forebearance agreement, loan
      modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
      servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.
4.    Confirmation that there is no stay in effect.
5.    The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
      enforce its remedies regarding the Property shall not constitute a violation of the stay.
6.    The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
      the same terms and conditions as to the Debtor.
7.    The 14-day stay prescribed by FRBP 4001(a)(3) is waived.
8.    A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
      of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
          without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
          compliance with applicable nonbankruptcy law.

9.    Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
      governing notices of interests or liens in real property, the order is binding in any other case under this title
      purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
      except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
      circumstances or for good cause shown, after notice and hearing.
10.     The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
        interest in the Property for a period of 180 days from the hearing of this Motion:
            without further notice, or      upon recording of a copy of this order or giving appropriate notice of its entry in
            compliance with applicable nonbankruptcy law.

11.     The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
           without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
           compliance with applicable nonbankruptcy law.
12.     Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
        Code § 2920.5(c)(2)(C).
13.     If relief from stay is not granted, adequate protection shall be ordered.
14.     See attached continuation page for other relief requested.

Date: 6/23/2022                                                 ZBS Law, LLP
                                                                Printed name of law firm (if applicable)
                                                                Nichole L. Glowin
                                                                Printed name of individual Movant or attorney for Movant

                                                                /s/ Nichole L. Glowin
                                                                Signature of individual Movant or attorney for Movant




                                                            Page 5
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document     Page 6 of 45
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document     Page 7 of 45
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document     Page 8 of 45
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document     Page 9 of 45
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 10 of 45
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 11 of 45
       Case 2:18-bk-10339-NB            Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43                      Desc
                                        Main Document    Page 12 of 45



                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
30 Corporate Park, Suite 450
Irvine, CA 92606

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 6/23/2022 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
William G Cort – Attorney for Debtor             williamgcortdocuments@gmail.com
Kathy A Dockery (TR) – Trustee                   EFiling@LATrustee.com
United States Trustee (LA)                       ustpregion16.la.ecf@usdoj.gov

                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 6/23/2022 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



6/23/2022                      Katherine Kellams                               /s/ Katherine Kellams
Date                             Printed Name                                    Signature




                                                           Page 12
      Case 2:18-bk-10339-NB           Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43             Desc
                                      Main Document    Page 13 of 45

    In re                             (SHORT TITLE)                         CHAPTER: 13
    Estela Toledo                                              Debtor(s).
                                                                            CASE NO.: 2:18-bk-10339-NB




ADDITIONAL SERVICE INFORMATION (if needed):


SERVED BY UNITED STATES MAIL:

DEBTOR:
Estela Toledo
16648 East Arrow Highway
Covina, CA 91722

NON-FILING SPOUSE OF DEBTOR:
Spouse of Estela Toldeo
16648 East Arrow Highway
Covina, CA 91722

DEBTOR’S ATTORNEY:
William G Cort
9040 Telegraph Rd Ste 206
Downey, CA 90240

JUNIOR LIENHOLDER:

Aegis Wholesale Corporation
3010 Briarpark Drive, Suite 700
Houston, TX 77042

Aegis Wholesale Corporation
Attn: CT Corp., Agent for Service of Process
330 N. Brand Blvd., Ste . 700
Glendale, CA 91203

PHH Mortgage Corporation aka Ocwen Loan Servicing, LLC
Attn: CSC Lawyers Inc. Service, Agent for Service of Process
2710 Gateway Oaks Drive, Ste. 150N
Sacramento, CA 95833

PHH Mortgage Corporation aka Ocwen Loan Servicing, LLC
1 Mortgage Way
Mount Laurel, NJ 08054
     Case 2:18-bk-10339-NB       Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                                 Main Document    Page 14 of 45




PRESIDING JUDGE (exhibits tabbed pursuant to LBR 9004-1(a)):
United States Bankruptcy Court
Chambers of Honorable Neil W. Bason
255 E. Temple Street, Suite 1552 / Courtroom 1545
Los Angeles, CA 90012
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 15 of 45




                                EXHIBIT 1
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 16 of 45




                                EXHIBIT 1
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 17 of 45




                                EXHIBIT 1
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 18 of 45




                                EXHIBIT 1
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 19 of 45




                                EXHIBIT 1
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 20 of 45




                                EXHIBIT 1
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 21 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 22 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 23 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 24 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 25 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 26 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 27 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 28 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 29 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 30 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 31 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 32 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 33 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 34 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 35 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 36 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 37 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 38 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 39 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 40 of 45




                                EXHIBIT 2
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 41 of 45




                                EXHIBIT 3
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 42 of 45




                                EXHIBIT 3
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 43 of 45




                                EXHIBIT 3
Case 2:18-bk-10339-NB   Doc 64 Filed 06/23/22 Entered 06/23/22 14:31:43   Desc
                        Main Document    Page 44 of 45




                                EXHIBIT 3
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                                                                                                                                                                                                                                                                                                                                                                               Main Document    Page 45 of 45




                                                                                                                   PAYMENT CHANGES
                                                                          DATE           P&I              Escrow             Total
                                                                        05/01/17       $934.70           $497.22           $1,431.92
                                                                        02/01/18       $934.70           $476.96           $1,411.66
                                                                        04/01/19       $934.70           $502.99           $1,437.69
                                                                        08/01/20       $934.70           $607.04           $1,541.74
                                                                        04/01/21       $934.70           $758.24           $1,692.94
Loan#                                                                   08/01/21       $934.70           $586.87           $1,672.77
BK Case#                     18-10339
Borrower:                     TOLEDO
Date Filed:                  1/11/2018
First Post Petition Due
Date:                          2/1/2018
POC covers:               5/1/2017-1/1/2018
         Date               Amount Recvd      Post Petition Due Date   Amount Due    Over/Shortage    Suspense Credit    Suspense Debit   Susp Balance      POC Arrears Credit   POC Debit   POC Suspense Balance   POC Paid to Date      APO Arrears Credit   APO Debit   APO Suspense Balance   APO Paid to Date      Fee/Escrow Deposit   Comment
            2/12/2018         $1,426.00             2/1/2018             $1,411.66           $14.34             $14.34                             $14.34                                                                         $0.00                                                                         $0.00
            3/12/2018         $1,427.00             3/1/2018             $1,411.66           $15.34             $15.34                             $29.68                                                   $0.00                 $0.00                                                   $0.00                 $0.00
            4/12/2018         $1,423.76             4/1/2018             $1,411.66           $12.10             $12.10                             $41.78                                                   $0.00                 $0.00                                                   $0.00                 $0.00
            4/25/2018         $1,432.48             5/1/2018             $1,411.66           $20.82             $20.82                             $62.60                                                   $0.00                 $0.00
             6/6/2018         $1,427.56             6/1/2018             $1,411.66           $15.90             $15.90                             $78.50                                                   $0.00                 $0.00                                                   $0.00                $0.00
            6/13/2018         $1,431.92             7/1/2018             $1,411.66           $20.26             $20.26                             $98.76                                                   $0.00                 $0.00                                                   $0.00                $0.00
            7/10/2018         $1,411.66             8/1/2018             $1,411.66            $0.00                                                $98.76                                                   $0.00                 $0.00                                                   $0.00                $0.00
             8/8/2018         $1,411.66             9/1/2018             $1,411.66            $0.00                                                $98.76                                                   $0.00                 $0.00                                                   $0.00                $0.00
            9/12/2018         $1,411.66             10/1/2018            $1,411.66            $0.00                                                $98.76                                                   $0.00                 $0.00                                                   $0.00                $0.00
           10/15/2018         $1,411.66             11/1/2018            $1,411.66            $0.00                                                $98.76                                                   $0.00                 $0.00                                                   $0.00                $0.00
           11/14/2018         $1,411.66             12/1/2018            $1,411.66            $0.00                                                $98.76                                                   $0.00                 $0.00                                                   $0.00                $0.00
           12/19/2018         $1,411.66             1/1/2019             $1,411.66            $0.00                                                $98.76                                                   $0.00                 $0.00                                                   $0.00                $0.00
             1/9/2019         $1,411.66             2/1/2019             $1,411.66            $0.00                                                $98.76                                                   $0.00                 $0.00                                                   $0.00                $0.00
            2/13/2019         $1,411.66             3/1/2019             $1,411.66            $0.00                                                $98.76                                                   $0.00                 $0.00                                                   $0.00                $0.00
            3/13/2019         $1,440.00             4/1/2019             $1,411.66           $28.34            $28.34                             $127.10                                                   $0.00                 $0.00                                                   $0.00                $0.00
            4/12/2019         $1,440.00             5/1/2019             $1,437.69            $2.31             $2.31                             $129.41                                                   $0.00                 $0.00                                                   $0.00                $0.00
            5/14/2019         $1,440.00             6/1/2019             $1,437.69            $2.31             $2.31                             $131.72                                                   $0.00                 $0.00                                                   $0.00                $0.00
            6/10/2019         $1,440.00             7/1/2019             $1,437.69            $2.31             $2.31                            $134.03                                                    $0.00                 $0.00                                                   $0.00                $0.00
            7/15/2019         $1,440.00             8/1/2019             $1,437.69            $2.31             $2.31                            $136.34                                                    $0.00                 $0.00                                                   $0.00                $0.00
            8/15/2019         $1,440.00             9/1/2019             $1,437.69            $2.31             $2.31                            $138.65                                                    $0.00                 $0.00                                                   $0.00                $0.00
            9/13/2019         $1,440.00             10/1/2019            $1,437.69            $2.31             $2.31                            $140.96                                                    $0.00                 $0.00                                                   $0.00                $0.00
          10/16/2019          $1,440.00            11/1/2019             $1,437.69           $2.31              $2.31                            $143.27                                                    $0.00                $0.00                                                    $0.00                $0.00
          11/15/2019          $1,440.00            12/1/2019             $1,437.69           $2.31              $2.31                            $145.58                                                    $0.00                $0.00                                                    $0.00                $0.00
          12/12/2019          $1,440.00            1/1/2020              $1,437.69           $2.31              $2.31                            $147.89                                                    $0.00                $0.00                                                    $0.00                $0.00
           1/15/2020          $1,440.00            2/1/2020              $1,437.69           $2.31              $2.31                            $150.20                                                    $0.00                $0.00                                                    $0.00                $0.00
           2/13/2020          $1,440.00            3/1/2020              $1,437.69           $2.31              $2.31                            $152.51                                                    $0.00                $0.00                                                    $0.00                $0.00
           3/12/2020          $1,440.00            4/1/2020              $1,437.69           $2.31              $2.31                            $154.82                                                    $0.00                $0.00                                                    $0.00                $0.00
           4/15/2020          $1,440.00            5/1/2020              $1,437.69           $2.31              $2.31                            $157.13                                                    $0.00                $0.00                                                    $0.00                $0.00
           5/12/2020          $1,440.00            6/1/2020              $1,437.69           $2.31              $2.31                            $159.44                                                    $0.00                $0.00                                                    $0.00                $0.00
           6/17/2020          $1,440.00            7/1/2020              $1,437.69           $2.31              $2.31                            $161.75                                                    $0.00                $0.00                                                    $0.00                $0.00
           7/15/2020          $1,440.00            8/1/2020              $1,437.69           $2.31              $2.31                            $164.06                                                    $0.00                $0.00                                                    $0.00                $0.00
           8/17/2020          $1,570.00            9/1/2020              $1,437.69         $132.31            $132.31                            $296.37                                                    $0.00                $0.00                                                    $0.00                $0.00
           9/15/2020          $1,570.00            10/1/2020             $1,541.70          $28.30             $28.30                            $324.67                                                    $0.00                $0.00                                                    $0.00                $0.00
                                                                                                                                                                                                                                                                                          $0.00                $0.00
                                                                                                                                                                                                                                                                                          $0.00                $0.00
                                                                                                                                                                                                                                                                                          $0.00                $0.00
            POST DUE                               11/1/2020             $1,541.70                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               12/1/2020             $1,541.70                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               1/1/2021              $1,541.70                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               2/1/2021              $1,541.70                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               3/1/2021              $1,541.70                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               4/1/2021              $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               5/1/2021              $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               6/1/2021              $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               7/1/2021              $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               8/1/2021              $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               9/1/2021              $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               10/1/2021             $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               11/1/2021             $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               12/1/2021             $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               1/1/2022              $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               2/1/2022              $1,692.94                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               3/1/2022              $1,672.77                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               4/1/2022              $1,672.77                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               5/1/2022              $1,672.77                                                                                                                                                                                                        $0.00                $0.00
            POST DUE                               6/1/2022              $1,672.77                                                                                                                                                                                                        $0.00                $0.00
                                                                                                                                                                                                                                                                                          $0.00                $0.00




                                                                                                                                                                                                                                                                                                                                                                                       EXHIBIT 4
